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Attorneys for PlaintiffA/!inden Pictures, Inc.

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UNITED STATES DISTRICT COURT

Defendant

NORTHERN DISTRICT 0F CALIFORNIA JCS
Minden Pictures, lnc., 0 V § 2 4 6 ® 1
Plaintiff, § Case °'
v. § COMPLAINT
John Wiley & Sons, Inc., §
§ DEMAND FOR JURY TR1AL
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Plaintiff Minden Pictures, Inc. (“Plaintift” or “Minden”), for its Complaint against

Defendant John Wiley & Sons, Inc. (“Wiley”) alleges:

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STATEMEN'I` OF ACTION

l. This is an action for copyright infringement brought by Minden Pictures, Inc., an
owner of the copyrights to the photographs described hereafter and originally licensed by Minden
for limited use to Wiley, against Wiley for uses of Minden’s photographs without its authority or
permission.

PARTIES

2. Minden, a Califomia corporation, is a stock photography agency engaged in
licensing photographic images to publishers, including Wiley. Minden’s office is located in
Watsonville, Califomia.

3. Wiley is a publisher with its principal place of business located in Hoboken, New
Jersey. Wiley sells and distributes its publications in the Northern District of Califomia and
throughout the United States, and overseas, including the publications and ancillary materials in
which Plaintiff’s photographs are unlawfully reproduced. At all times pertinent to the allegations
herein, Wiley acted through or in concert with its various imprints, divisions, subsidiaries,
affiliates, and/or third parties.

JURISDICTION

4. This is an action for injunctive relief, statutory damages, monetary damages and
interest under the copyright laws of the United States. This Court has jurisdiction over the subject
matter of this action pursuant to 28 United States Code §§ 1331 (federal question) and 1338
(copyright).

VENUE
5. Venue is appropriate in this District pursuant to 28 U.S.C. §§ l39l(a) and (b) and

28 U.S.C. §§ l400(a).
FACTS COMMON TO ALL COUNTS

6. Minden is an owner of the copyrights to all of the attached photographic images

depicted in Exhibit l (“the Photographs”). Minden also has, by assignment, the sole right to bring

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and resolve accrued and later accruing claims pertaining to the Photographs in the publications
identified in Exhibit 1.

7. As set forth in Exhibit l, the Photographs have been registered with the United
States Copyright Offlce; or complete applications for copyright registration have been received by
the Copyright Offlce in compliance with the Copyright Act, 17 U.S.C. §§ 101 et seq.; or the
Photographs are not United States works requiring registration under the Copyright Act.

8. ln 1997 and later, in response to permission requests from Wiley, Minden sold
Wiley limited licenses to use copies of the Photographs in numerous educational publications The
licenses Minden granted Wiley were expressly limited by number of copies, distribution area,
language, duration and/or media (print or electronic) as set forth in Exhibit 1.

9. Minden granted the limited use licenses in response to Wiley’s representations to
Minden that the use of the Photographs would not exceed the limitations contained in its license
requests.

10. At the time Wiley represented to Minden in its requests that it needed specified,
limited licenses to use the Photographs, Wiley often knew its actual uses under the licenses would
exceed the permission it was requesting and paying for.

ll. Wiley intended by its misrepresentations to obtain access to the Photographs at a
lower cost than it would have paid had it been honest in its dealings with Minden and to conceal
the copyright infringements that followed. Wiley’s false and misleading representations deceived
Minden and concealed the copyright infringements that followed.

12. Minden relied to its detriment on the truthfulness of the express limitations
contained in Wiley’s license requests in establishing Minden’s license fees.

13. Upon information and belief, Wiley exceeded the permitted uses under the terms of
the limited licenses it was granted in the publications identified in Exhibit 1.

14. Upon information and belief, Wiley used the Photographs without any license or

permission in additional publications Because Wiley alone knows these wholly unauthorized

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uses, Minden cannot further identify them without discovery. Upon information and belief, Wiley
has developed a list of its wholly unlicensed uses and Minden’s Photographs are among those
Wiley has so identified.

15. When Wiley copied, distributed and used the Photographs without authorization,
Wiley had a duty in equity and good conscience to disclose those uses to Minden. This is
especially so because Wiley knew precisely when its use of the Photographs exceeded the
applicable license limitations, or were used without any license, but Minden had no such
knowledge nor any reason to assume Wiley was being deceitful in the uses it was making of the
Photographs

16. Before filing this action, Minden provided Wiley with a copy of Exhibit l and
asked Wiley to disclose its unauthorized uses. Wiley did not provide Minden with the requested
information regarding its uses of Minden’s Photographs that would have allowed the parties to
explore a resolution of Minden’s copyright infringement claims without litigation.

17. Wiley’s practice of requesting and paying for a license for limited uses, and then
exceeding those licensed uses, extends beyond the publications in suit. While the lost licensing fee
to any individual copyright holder is relatively small, Wiley has sold and distributed millions of its
publications, generating billions in revenue. Wiley’s business model, built on a foundation of
pervasive and willful copyright infringement, deprived Minden and thousands of other visual art
licensors of their rightful compensation and unjustly enriched Wiley with outlandish profits in the
process.

18. Numerous other photographers and stock photography agencies have brought
actions against Wiley alleging copyright infringement claims nearly identical to those asserted by
Plaintiff in this action, including the following ll cases:

a. John Wiley & Sons, Inc. v. Hiser, No. l:09-cv-4307 (S.D.N.Y);
b. Grant Heilman v. John Wiley & Sons, [nc., No 511 l~cv-01655 (E.D. Penn.);

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c. Vl`suals Unlimited, Inc. v. John Wiley & Sons, Inc., No. 1:11-cv-04l5
(D.N.H.);
d. Bean v. John Wiley & Sons, Inc., No. 3:12-cv-8001 (D. Ariz.);
e. DRK Photo v. John Wiley & Sons, Inc., No. 3:11-cv-8133 (D. Ariz.);
f. Psihoyos v. John Wiley & Sons, Inc., No. 1 l-cv-l4l6 (S.D.N.Y.);
g. Frerck v. John Wiley & Sons, Inc., l:l l-cv-2727 (N.D. Ill.);
h. Cole v. John Wiley & Sons, Inc., No. l l-cv-2090 (S.D.N.Y.);
i. Warren v. John Wiley & Sons, Inc., No. lZ-cv-05070 (S.D.N.Y);
j. Rubin v. John Wiley & Sons, Inc., No 12-cv-0507l (S.D.N.Y); and
k. Young-Wolffv. John Wiley & Sons, lnc., lZ-c-v05230 (S.D.N.Y.).
19. Evidence submitted to the courts in the above actions demonstrates that Wiley has

engaged in a systematic pattern of fraud and copyright infringement, including:

a.

In Psihoyos v. John Wiley & Sons, Inc., No. ll-cv-l4l6 (S.D.N.Y.), a jury

found Wiley liable for two counts of willful copyright infringement and awarded

3130,000 in statutory damages.

b.

In Bean v. John Wiley & Son’s, Inc., No. CV ll-O8028-PCT~FJM, 2012

WL 1078662 (March 30, 2012.), Wiley was found liable for 108 counts of copyright

infringement for engaging in the copyright infringement scheme described herein.

C.

Exhibit 2 sets forth additional examples of Wiley’s infringements of one of

several license parameters » print limits - in licenses issued by Visuals Unlimited,

lnc. another stock photography agency whose photographs have been infringed by

wiley.

20. Upon information and belief, Wiley transmitted the Photographs to other entities,

subsidiary companies, divisions, affiliates, and/or third parties ("Third Parties"), who then

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translated the publications at issue into additional languages and included the Photographs in
the translated publications without Plaintiffs permission. By transmitting the Photographs to
the Third Parties, Wiley enabled, induced, caused, facilitated, or materially contributed to the
Third Parties' unauthorized use of the Photographs

21. Upon information and belief, Wiley knew when it transmitted the Photographs that

the Third Parties would use the Photographs without Plaintiff‘s authorization.

22. Upon information and belief, Wiley knew that the Third Parties were using
Plaintiff‘s Photographs without Plaintiff‘s authorization.

23. Upon information and belief, Wiley had the right and ability to supervise the Third
Parties' use of the Photographs.

24. Upon information and belief, Wiley directly profited from its transmission of the
Photographs to the Third Parties. Upon information and belief, the Third Parties pay Wiley for
translation rights, including access to all of the content in the publications

25. Minden has satisfied, or Wiley has waived, all conditions precedent to the filing of
this complaint On Minden’S website, Minden agreed to forgo its right to sue if a licensee agreed
to pay 10 times the normal price for unauthorized uses within 10 days of billing. Accordingly,
Minden offered to settle all copyright infringement and contract claims pertaining to images
licensed to Wiley for 10 times the normal price it would have charged for the unauthorized uses
made. Wiley did not accept Minden’s offer.

26. All exhibits attached hereto are incorporated into this complaint by this reference.

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COUNT I
COPYRIGHT INFRINGEMENT

27. Minden incorporates herein by this reference each and every allegation contained in
the paragraphs set forth above.

28. The foregoing acts of Wiley constitute infringements of Minden’s copyrights in the
Photographs in violation of 17 U.S.C. §§ 501 el seq.

29. Plaintiff suffered damages as a result of Wiley’s unauthorized use of the

Photographs.
COUNT ll
CONTRIBUTORY COPYRIGHT INFRINGEMENT
30. Plaintiff incorporates herein by this reference each and every allegation contained in

the paragraphs set forth above.
31. The foregoing acts of Wiley constitute contributory infringements of Minden’s
copyrights in the Photographs in violation of 17 U.S.C. § 501 el seq.

32. Minden suffered damages as a result of Wiley’s unauthorized use of the

Photographs
C_OU_NLH
VICARIOUS COPYRIGHT INFRINGEMENT
33. Plaintiff incorporates herein by this reference each and every allegation contained in

the paragraphs set forth above

34. The foregoing acts of Wiley constitute vicarious infringements of Minden’s

copyrights in the Photographs in violation of 17 U.S.C. § 501 el seq.

35. Minden suffered damages as a result of Wiley’s unauthorized use of the
Photographs
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WHEREFORE, Plaintiff requests the following:

l. A permanent injunction against Defendants and anyone working in concert with
them from copying, displaying, distributing, selling or offering to sell Plaintiff`s Photographs
described in this Complaint and Plaintiff`s photographs not included in suit.

2. As permitted under 17 U.S.C. §503, impoundment of all copies of Plaintiff’s
Photographs used in violation of Plaintiff’ s exclusive copyrights as well as all related records and
documents and, at final judgment, destruction or other reasonable disposition of the unlawfully
used Photographs, including digital files and any other means by which they could be used again
by Defendants without Plaintiff s authorization

3. An award of Plaintiff’ s actual damages and all profits derived from the
unauthorized use of Plaintiff"s Photographs or, where applicable and at Plaintist election,
statutory damages

4. An award of Plaintiff`s reasonable attomeys’ fees and costs available under the
Copyright Act and the license agreements

5. An award of Plaintist court costs, expert witness fees, interest and all other
amounts authorized under law.

6. Such other and further relief as the Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury of all issues permitted by law.

DATED: September 4, 2012

Plaintiff Minden Pictures, lnc., by its attorneys,

s/ Alex Rice Kerr

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EXH|B|T 1

 

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.oz mu.o>E mczcm._ wcm¢ __ ~o~
§ amoco ___ EE_E_ ouB>:_ n= omaE_ §§ ¢msE_
5a uaw _ s.E_._ :H 3§§.__ _ 4 4 \ EE=< _ 4

=nExm - >m_m>> .> cmu:=>_

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Case 3

 

 

3 8 - umwa

 

 

 

 

 

 

 

 

B_mnw>> uBuBo& Eo>>ww~a
Q£ 3 co~woa on ___>> wwmmE_
05 “_o co_w._w> ~c_on_ ._w>>on_ uooo_~
- m\v _._m_;~bm 3 >mo_oow mcow
v:o>> ms :oz 30 co_~:n_.:m_u _53 cBQE_~ww _mu.w>r~_ mc,u:vobc_ a >w=>> cro_. moo~\-\~
cm E_>> Rowm£oa \Ew:um$ wayne J§»§\ _En§.._ =E:..S< .._w=.a.mw
3 m_nm=m>m 35an bw~uw~o._a `._.\§v:EE \E,&:mE :on.cmv
c._o>>mwmn_ nmcm …<z uooo_ov vmomom mmmmno
.oz wu._o>E ocfon oEu_z
35an c$u$oa Eo>>wwma
m_t 3 um~woa ma __;> wom~E_
05 “_o co_Em> ~Eon_ ._Qson_ uooo_~
o\¢ ,._w_cm.am >n >mo_oww wcom SERG wv:m§ mom§§mw
355sz 30 co_~:n_bw_u _23 GBNE=$ _S_@En_ mc_u:uo.ac_ a >m__>> cro_. moo~\-\~ gsa §E~§ dea
cm §§ Eoww£o& \w$%m$ . uBmo 5 355 ES.E @=Qm€§€
3 w_nm__m>m m:wnw>> uw~um~o._n W.St£ ..Em.@ mommqm`ww
u\_o`swwmn_ wmcm …<z uoaw nooo_o¢ vmomow §mmmo
.oz ou_o>E mccch wc~._u_ .
B_Bm>> um~uBo& Eo>>wmma
msu 3 358 on _=z, wwmmE. 05
o co_w._m> ~c_on_ ._w`so w n . _
om:m~m_mm¢ “_ wo co_~:nc~w_o _BM~ WW~%:W_N¢,NQ m\v hw_cm._~m >n >mo_oow wcom m \ \ gobm`dm `md:w§ mommqm`ww
. . . . . _mu.w>cn_ mc.u:uobc_ d >m=>> cco_. com ~N w `v:m\& wing .v:on
cm cuts w._oww&o._a \Eocumwu uwumn_ :.` 335 `EQ.E m:o\mcooww\
3 m_nm=m>m B_.wow`s cw~uw~o._a mm.`ot£ ~:wG moqum\wu .
Eo>>wmmn_ mmcm …<z a __:H_ uooo_o¢ vmomo~ imme _
.oz wu,o>£ mcscm._ w:En_ __ mop
B_wnw,> uw~uv~oba Eo>>wwma
w_t 3 um~woq on ___3 wwm~E_ n
v£ »o com€v> §§ E>>on_ nooo,~ _
w\v _._o__._m._~m >n >mo_oww mcom Ebm:u.\... `wv:&m` mommqm\mw _
u££m_m§ wo =o§n_:w_u _SNM B-EEQ _S_@€~_ m=_u=co:=_ w >w__.>> §§ moo~\-\~ §§ §B§ §§ .
ca §§ fowwv»o \w._vr_um$ 3me S Q:Em ~Em.E m:o\mcuowm~ _
ou w_nm=m>m utman nw~uo»o._a mm,€toh ~cm.`w mowmam`mw
Eo_swwmn_ wmcm "<z _.ooo.o¢ ¢momom §mmmo
.oz 020>5 mc_~c~._ wc~._“_ dep
B_wnw; uw~uo~o._a c._o`swwmn
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m_.t 30 co_w._w> ~c_on_ ._w>>on_ nooo.~
m\¢ ,._w_rm._~m >n >mo_omw wcom Lobm:om `mhcm`w` mommqm`mw
uEBw,mw~_ wo coz:nc~w_c _33 n$~&zww _S_w>:n_ mc_u:uo.:c_ z >w=>> cco_. moo~\-\~ _.o§§ §§§ deem
cm cuts w._oww£o._a \w._mcumw~ _uBmD E Q:Ew `EME m:o`maooww\
3 o_nm_.m>m wsmnv>> vBuBoE Bet£ ~§.G mommqsmw
v._o`swwmn_ wmcm “<z wooo_o¢ vmomo~ gmme
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co_u§uoz _ d j _ _ _ \ §< J\

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Case 3

 

 

3 3 nw §§

 

 

 

 

 

 

 

 

 

 

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a _S._w>§ m=.o:no._~c_ 0 >o__>> c;o_. _ ` n
cm r~_.>> Rommwwo._ \w»o£umwu hymsz ~§:m`o. obm\o`o,u Emtm
8 w_nm__~>m ozmnw>> 080805 mco~wnc~w 333 3 § 320
u._o>>mmmm nmcm …<z 5 v\~ 600.0¢ vmomom m FNmo~
.oz wu,o>£ co§_u two _ m :
ozwno>> 080805 Po>>mm~a
25 8 uo~woa on _=>> womm§
w5 80 co_€w> ~Eom B>,om "000.~. ,
> >m 00 mco
v££m_mw¢ wo cov...£bm€ _88 vBNEswo w\v B_r_~bm n 2 0 m moo~\-\~ 835
a _S_m>§ mc_o_._uobc_ 0 >o=>> cco_. . _ m
cm c£>> w._omm£o`_ \w._wcomw~ 330 dwm~m\a. obm`o\o,u E.PEN
8 w_n~=~>~ 8_39$ 08080.5 §mo~ m mm F E§wv§w 383 § § 330
»o>>wwmm mmc w z n . v F 0 _
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8_3¢>> 080805 n._o>>$ma
w5 8 uo~woa on __.>> mom~§ 05 00
N ~\m ~\No :o~w..w> uc~om ._w>>om "ww:o~_ HOOO.N . > >m 00 m:o
B§§.B 3 S_~B.Ew_n _BB 8:§_~3 § 52me n o_ w w moo~\-\~ §§
_~o_m>§ mEu:uob:_ a >o=>> :_._0_. ` _
S=S__&< § §§ »._owm£oa \EQS~B §§ §§ §ES E&ec.§
8 o_nm=m>m 8_3¢>> 080805 `§Qo: cm~§£ m§,=d §§
u._o>>mw§ 55 …<z d vi 600_0¢ . vmomo~ omm 30
oz wu.o>E 0:_.~:~._ chU_ mp F
8.»€>> 080805 u._o>>wmma
05 8 uo~woa on _=>> womm::
m F\m quo 05 *o co_v,._w> ~an »w>>oa _.000_~ _ > >m o mcc
B:_E€w 3 S.§.Em_u _88 PEEEQ w\v .Q_§bm n o_ 8 m moo~\-\~ §§
_~o_m>§ mc,u:vob:_ a >w=>> crow ` _
co:mo=aa< cm 5_>> w._owm£oa \Hmcomo~ oo~mo ~G\\m\_ E=§Q UEQSE
o~ m_nm=m>m wswnw>> uwuuwuo\a vmomo~ omm 50 \mu.io.a cm:§t m§.$o B>.E
._o>>wwm wmc w … _ v
n m m <z 0000 .oz wu,o>£ 0:5:~._ mcm£ N:
8.30>> 080805 Eo>>mwma
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05 wo co_&w> ~Eom B>>om "000.~. . > >m co mcc
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_~o.w>_.& mc_u:no.ac_ a >w__.>> ::o_. _ m
cm 5;> w._ommo»oa \m$rum$ om»mn_ zu£< Ev=£ :EE:<HS~ m
8 w_n~=m>~ 8630>> 080805 EG:EE L&._m§% =3.:@
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Case 3

 

 

03 3 § 0@,§_

 

 

 

 

 

 

 

 

 

 

 

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000000>» 080880 000300~0
05 8 08000 00 ___>> 0000§ 05 00
co_m._0> E_on_ 00>>00 00000~_ 0000_~
0 ¢ .00 05 > >mo 00 m:o
003330¢ 3 _3.3€33 330 003§30 \ _S_HV,_W QM_SR_EW_ 0 >0__>> crow moo~\-\~ Esz0
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ou 0_0~=0>~ 0~_000>» uwuowuo._a `m~w~.`m._d N`:om:wd§ awoomm
Eozmm§ 600 u<z 00 ¢\F 0000_0¢ vmcmo~ vmwwmm
.oz 020>£ mccch 2000 m f
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05 8 08000 00 ___z 0000§
05 00 c00000> qua ._0260 0000_~
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33300~_ 3 S_§.Em_u _28 33§30 _S_H_»>§ QH_Q=L:H 0 >0__>> crow moo~\-\~ 3§0%
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00 0_0~=@>~ 0:000>> 00000~0._0 \EB.SE m`com:md§ omoomm
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000000_00¢ 00 :05:0.._00=0 _88 080&500 _00_9£.0 0:_0:005:_ 0 >0__>> cco_. moo~\-\~ `=09002,&0 _dc=mEo:
cm 5_»> m._owmo0o0a \w._ozumv~ . . . umumn_ ~0.§50 20 5003 E `w:`:E.E
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Eo>»mwmn_ umcm u<z 00 ¢\F 0000.0¢ vmomo~ ~F F 21 l
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05 00 50000> 5000 00¥00 MOOO,N . .
0 .._0_005m > 30 000 000 `0@0`08000< E§§m
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cm cuts Eommw0o0a \Ewromw~ . . . _uvumn_ icch co EQQE c.` ~m:`:u.~.:`
8 0_00__0>0 00.»00>> 00~00~80 00$0.`~0.€ 000.`0.§0 333
Po;$£ 35 o<z 500_0¢ §000~ ~ 0 0 :l r»
.oz 00_0>£ >0¢ 00 5._. 1 w:
350 EE_._ $=8.._ §§ EEE_ 83>=_ n_ S~E_ =S%HB §§
§§§ 0 _ _ _ _ §§ 0 0

350 - >0_0>> .> =0!___2

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910 mm ommn_

 

 

 

   

 

 

 

 

 

 

 

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. 0\0 E>0._ wcom
00§&03 fmc 05 020 .00300>, 000000000 moo~\-\.`. 0
00500__00< 000>$000 wmcm …<z 00 v\F wooo_N >0 0EF sm:oEP 5000 z >0_§ 5000 0800 000 =0 ~"MMM-MMM@
co,~:n,bw_v ..0000000.r …Oom_~. 5500 35000 5500 000`00.0:.& _
:.mmom m F F 50 _
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352 B.E_._ 355 _ Sv.§_ac_ sess _ 8_2,5_ 0_ §§ _ 500§¢0 _ §§ _

\ .§t:<
03_.§0 - >0_0>> .> =00=__2

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910 @~ 33

 

 

 

 

 

 

 

 

 

m F\m F\No w~mmo~ o\m mcom
cw§En:¢. wu_o>c_ _uo___n cas c_mE fox _ moo~\m~\m wEm§
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~mm\e.,` dw~m`nm` 5 §m.`> `m.:w<
mwmmo~ vvv-,
.oz wu_o>£ mcach §§ cmr
m F\m 550 NNmmoN w\m mcow
uB:En:m wu_o>c_ .uo_=n §B c_mE fox moo~\m~\m »
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co_~wo__aa< -ou .wm=w~_ .wm> .mcm_ .<z .ooo o¢v _._ > z n »c c h_>cm a __>> § _. 3qu m>EmE.E § 25 dm>._%
E\m\ Ssmk¢o §m.`> `m.:m<
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_uwu£rc£:m _ wv,O>...: VO_=E sdwa cme ._ZO¢ .cm>mz >n ucOEcO._.>cm d >O=>> cr_O_. mOON\mN\O Qm.EQm `cmam,w Xm"m> _
co_uno=aa< -QU .om_._ox .mo> .mcm .<Z .OOO O¢v UO~QD 23ch umEEc.`mL .o:m`\so`
aught o.Stdu \m>.`.< S=mmmw.
mnmmo~ ~Nm 50 n
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m.`mmt°b:`
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bo._o»w_.mmz v_ooa.m nmcm "<z d v\F nooo_o¢v __._o>mz >n »coEco.__>cm a >o__>> cco_. moo~\m~\w §§ :n`:e®eu w 2 mc`m§v
cowan Q.Em£m`ma m:QEmQQQQ.`I`
akime xEm\Q
Nwmmom vm Fom,
.oz ou_o>c~ Emcco>mm uw._m nNF
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wk~m_h_\n~=m §§ §_BQ>> a @\m wsm moo~\m~\@ 5_§>.§ 2.£=»5%%“.~6
. - … n … … . _ _`m\`.$.m\ m` I» m t
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§§ _ .___a_._ § S=&$S 325
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910 § wmmn_

 

 

 

 

 

 

 

 

 

 

 

m:o.EQ> _mco:mEBE uaw w\v mcow wb§`m` momwu&mmowwwww`
nEBm_.mw¢ _ co=m~c_hwwj ~£J&v,>o.…_ mwv_:_uc_ _uBm:cw >n mu:wcow a >w__>> c:o_. moo~\m F\F F ~Ev E§.w ~wmwz§n mciw&n
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.oz wu.o>c~ mcach wcm£ vmr
mco_m._w> _mcotmc._w»c_ tcm w\.v mcom govm:um `mvcw`w` wommam`wu
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_ _ w\m mcow _.Bm§w\:m. _E.Ebm ewing Emu_
Uw._wum_mwz » wu.O>Fw. bw._=n UMOH C..NE ..EO~_ _Cw>m¢ `AD HCOECO=>CW ~w >O__>> C£O_. mOON\®N\® `m.`c© CQ`CQQ`QU m 2 ®C.`®E`u
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vw§_.cn:m vo.o>£ _vw_=n uxwu EQE …EO~_ moom\m~\® _ ~
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co_»mu__&< -n_u .wm:wz .mw> .mcm .<z .ooo ovv c >mz n ~cchE_>cm d w=>> cco_. owumo usi BEBEQ £.§ ~m=.&§
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010 wm §§

 

 

 

 

 

 

 

 

 

 

 

 

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uw§En:m _ _ _ » _ _mBm >n A_>>>V wocw_um moo~\m F\op . _
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co_-u__aa< a v_ a m w u>> v\ F oeo o¢ _Bc»EcE_>cm ms ._m:m.> a _.>> z _. owuma usi EEEEQ E.§ 3dsz
m`>,l» mmo\`..` mw.E oc.`umm
mmo~ FN meh~p
.oz QQB>E mcnch mcm.a of
wK~m_h_\n_% §sz _me 3 A_>E vocme 28 333 <2
. 00 - umc w d n _ . >o_ c o mEm:mm
co_~mu__an< z x n m m u>> ¢\ F ooo o¢ _ScoEco.__>cm ms =m_._w_> z _,>> ,._ _. uB~Q "m§w mEm:mm vi §<\d§§
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N F\m 53 nwz<v_oon .
. mco m.` ._EmZ hewme
B§En_=w .v Pa V_,§.u_ .2_3¢>> z v53 __QES 3 2 §Q£n_ a >Q__>> crow woo~\<~ e§< §§ Ew» § § \§
CO~HNO=QQ< \W "m_._m "Ug na ¢\_. wOOO_OO_. Ou Q: . UUHNQ >»N~m by ~UU\ UE.B“~." `UW~U.EQQN
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353 32 5
.oz vu~o>§ commo“_ ~_oEmn_ a _w~.._o.s_ mmF
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w\¢ mcom E:om. mdcm\m\ wc:~uw`<
uSBm_mw~_ co_~Scwmo._n_ ~c_oEo>>on_ mwu:_uc_ _um~m:_._w 3 mo_~wcom z >w__>> cro_. moo~\m~\: §.EE%§ mSEE.§»
u_oon'm umcm 6>> d ¢\ v uooo.ovv . . uBmD Km:mcu`mo cobo`mc&mv»
iwa E.§: 236
m¢mo»~ 332
.oz uu~o>£ ban S__s_ NmF
godm:uw
mco.Ew> acoszch new w mcc §§MMMQ_M`QMWNMQM`UNPWMWN
w._o~m_mo~_ coa§:vwv& E.o&v>>on_ mvu:_uc_ \¢ w moo~\m §§ , z .
n . _ . _ . . . _ _ _Um~m:cm >n mozwcoo z >w__>> _.=._o_. mm.`owmm 2 v3 mcc Eo>_aumm&
.V_ooa.u .m:u .u>> .a ¢\F .ooo o¢v uBmo §§ u.`EovE ~mwu§,`\o
§§th §§ B§§.
mwmo.~ mod :;
.oz wumo>.: >o¢ mo E._. __ wmr
555 B_E_._ 8.._8_._ =3§ EEE. 85>=_ 9 ¢?E_ =2§_33 &2__
§§_§_ 4 _ _ _ _ :§; _

§.€m_ - >o_m>> .> =$==z

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Case 3

 

 

@Zo mm umwa

 

 

 

 

 

 

 

 

 

 

 

552 `
ou_wno>> wcom @`mw:\ imm §§ch Aw_m
uo\_o~w,moz . _ _ _ . . h >n or A_>>>v >mo_oww noo~\~ § F disc .QEEEE\< mmi ~Emm
d v_oon m .mcm .u>> .a v\ F .ooo ov _mo_w>cn_ mc_~__m:w_> w >o=>> cco_. hymqu .mm:§ §~mo&m vi imm:wa
Lw>,i »`wm:\ cf w ~`.G, `N.GQG
owv~ F~ F~wo:
.oz wu_o>£ cot=o two m3
_
552
B_wno>> wcow
B§w.m$_ - , » . . _ 3 2 A_>>>v So_o$ So~\~ § , a§m§§
d v_oon m .mcm_ .u>> h v\ F .ooo cv _~u~w>§_ mc-=~:w.> w >w__.>> cco_. uan_ 5>.: §§ w »nam§w §E
dmdo\w bqud dam d.£mm:&mq
ow¢~ § Fmoooo
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nw$§mw~_ u.cobuo_u go §§ 550 oz um>oo >._NRQ>_E<FHWMW a >w=>> E_ow woo~\om\ :. mo=§§u%§§o wva
umcm …u>> uoam uooodv ._ouc: quome wE § §m.E w=o`.w:uomw»
mm€t£ ~:m.@ mommqw`mm
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.oz 3.0>5 mccch wcm\_“_ _ m:
~ <m 50 2_.5:8_¢ 95 EE §$>b_oom _ wcc
B§E§m -m u§_ es… §§ "_B.B_w>> 3 >;%NCVHMMMH z >Q__>> crow woo~§\:
S=B__&< a v_,§E 55 .E> h vi .ooo ev §§
mu.a&§c< dqmvmnc§
mo F~ FN w §§ F
.oz ou.o>E m:_Em._ w:~E _ ~:
~F\m F\No u_coboo_w 95 ~c.ca "no>>\v_oom . mm wcc
no§c_a:m .m nc~. 53 ENE "_wgwn_o>> 3 >ca~hw\owmmeu_MN_/M_` a >o__>> c;ow woo~\n\ f
cosmu__aa< d V_oon.m_ …mcm .n>> 5 v\ F .ooo cv Uo.._mn_
wpc&$:< `wqmumd:m.`
mo FN FN w F~oF F
.oz wumo>£ m:zc~._ wc~.£ w §
...BS»_ H.E: ¢28: =B§_ec_ EE_E__ 8_¢>=__ n_ SE___ =2§_38 _ §§ _
:o_»mb»_mo¢ \ ._o£:<

§.em_ - >w_~>> .> SE___>_

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910 on emma

 

 

 

 

 

 

 

 

 

cme __uBcEm B_,.m: u_.co.:uw_w wcow
vto>> m:.coz ozm.cnmo.\%sw_~w“_v_h_w__wmmh_vnmm mco_~mum> Emw._n_ _w >w__>> econ noo~\m~\m mdcwdm£&< _»d§»` §§w\s
. . . . umwqu <E:Q .uawwmu§\ 93d
bca E>o md:o\w m:\:E:,w
ovm~ FN ¢NNNmN
.oz wu~o>E EBmz Sou_ \v_cw.tm u~< cmp
N _.\m F\no >._mucooww m`\w.am:_\ _d:m\m:mm:®
GBcEQ B_,_m.: u.cobuw_w wcc s&. §§ uch m§Em=<
vw§En:w wco_~mum> E~o._n_ w hoo~\w~\m
§_S.Q_ & oz .B\m 33 c§§_§n_ . a §§ §§ § ace B§§ §
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:o.`.§cQES cwcmcoEmc< <c._m
o§~ § wm F § _
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. d _ o> B>o , a ._o_u~:um w_BEEo._H_ _w >w_=s ccov gov m
.U>> . m\ F .w._m N OOO m_. kumD _:o~mE< cw>.c.` mo.§O wi
co §§ mwo,w go \m&s< §w
33 § N¢E §
.oz wu.o>c~ E£xo Bwn_ w»l
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MKMHM.MM B_Bw`s w\ ~ A_>>>V >mo_o_m wcom
. & q xoB-m 55 ups nooo_o¢ §§ ?_~=~B,> a §§ §§ Bo~\ <m §§ 533 §§
co_umo= < umwme E:QNQ _~mm`ESE dcw`>._o\
cm:oht mSt:w \m>.`_< wEwo,mm
@S~ § ~Nm 50
.oz wu_o>c~ mccch mcm._u_ di
_
_
MMH_\%=W §sz § A_>_§ So_em 28
. aa _w v_oon.m …mcm 63 ma v\p Mooo_ov cmc._:: mc.~=m:wm> a >w__>> aron woo~\ F\m omEom §wa §\E>
co_~mu= < numme E:§Q amm\ESE d:m`>._o`
<m=EE Q,=.ES §§ NEE,&,
QmwN ~N NNm 50
.oz wu,o>:~ mc_~cm._ ch“_ m of
guam _ w£E_._ oucoo_.J coku=a..&_ uctaEL oo_o>:._ 9 omaE; =£~Humoo §§ _
co_~n._uu_mu¢ \ .o:§<

§.€m_ - >w_~>> .> amici

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3 3 5 §§

 

 

 

 

 

 

 

 

 

 

~ F\m F\ho no>>\v_oom w\m mcom
uo§c._n_._m -Q uaw c.$~ c__m_>_ .wm:wz ..Q:B,o>> ,oucw_um _BcoEco.__>cm z >o__>> S_o_. woo~\~ F\¢
coz~u__&< z V_oon_.m .mcm .<z h v\ F .ooo ov uan SEom _
`E\mm cim\m EE\\S % m\uowm
Em~ § 389 _
.oz wu_o>E mccch mc~._u_ mmp
~ F\m F\ho -o cm xv ca _ow:w nwh_\mv_owom o\w mcom
UOuu_F_n:m b ~. w .. E ., z .. . D. >> .wucwmuw _NucchO:>cm d >w=>> c_._O_. NOON\N _.\¢ om:\om `m\mcu~.`h
co.~mo=na< .w v_cca.m .mcm .<Z .n v\ _. .000 0¢ vw~mo _,.._ mw>mo` ~mmo".`> mmc~cmnmz»
tim E<B,E mmo\\.$
Em~ § ~mw 50
.oz wu_o>c~ mcnch wcm._u_ wm F
~ F\m F\do no;\v_oon o\w mcom
uw§Ea_._m -m._ ucm,c$… c_~z .,B_Bw>> _wuco_um _Bccho=>cm z >o__>> E_o_. woo~\v iv
S.§=&< z v_oB-m .m=m_ .<z h ¢> .ooo ov noia §§ §§ _B§S §§ _
co Q:.Eumob:m mbcm\:t@ m
Em~ § 833
.oz wu_o>£ m._:ncwuc~._m E=. mmp
mo\m F\ 5 c_mE u..w.~cw_m Bzm_._ o_co.:uw_o »com §§3< `N.ENE»E
co§En=m ov._ do_\m wme co_.u~u__,.~:n_ mco:~u~> ES._Q a >w=>> c;o_. woo~\m~\m _.ec$§ 328 OEEE _mE&
=o_§._&< .m£ .E> h __E .ooo om §§ e§ §§ m§§ EE§§
NEQH`EQ» tamm mmt.
Q¢w~ 5 okc 5
.oz mumo>c~ cwumou_ 2253 a _o~cu_z
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_Ew~c§m mu_._m_._ u_co._~uo_o mcow mb:mtm€mz `mb:m§
v_§> m:-=oz oz .B\m BS S.§__n§ m=o:§> ESE a §§ §§ So~\w~\m QMMJN>MQNMMQEMNNMM
w w n w k 3m .
mcm v>> a .v\_. 000 0m o 0 mm§d b:mm dam b:mzm\s
ovw~ § owm~ww
.oz wu,o>E P_B~z o~on_ \comm_._mz >ccm ~mF
assn B_E_._ 3=8_._4 =S_§_..E E_as__ 8.¢>=_ n_ owns _ S...§_BBH §§ _
§§mo~_ \ ._o£:<

E_§m . >w_m>> .> =S=_s_

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910 mm §§

 

 

 

 

 

 

 

 

 

 

 

   

 

~ fm r\~.o u,=o:uo_o v=m Eca npwz<xoon
- . _ wl .B__ov_ 3 oo=o_om m:om
uB:En:w m ven §_B Em…z .w_w:w~_ .w.~_mnw>> z _BcoEo:>=m _~::wwwm z >w__>> E_o_. woo~\m~\m
S:S__&< v_R§.m_ .m=m_ .E> .Q ¢> .ooo o¢v §§ §§ w
ita §\.EA PE\~G % m\QomA
him § ~om~o,
.oz wu_o>E mc_~c~._ w:mE of
_
N fm F\No u_:obuo_w ucs ~:_5 naw>.<v_oo...~ .
- _ _ wl B__ov_ >n wu:o_um m:om
uo§EMMw m vw.m ~x_om~_._:_wz .w_ma:o~_ .w.~_mnw>> w _ScoEo=>:m _~:cwmwm c >w=>> =Lo_. woo~\m~\m *
:o_umu__ < v_o n-m . m .u>>. ¢\F .ooo o¢v uwumo E§S_m`toz wm`o£oq §§ _
co :Eowo.`o:m md:m\:.:m..\
G\.m r.\.. 333
.oz wu,o>r: mg:n:ouc§m E=, . mm~
_
oB:Em B:mc o_.:obuw_o mcow
m
uEBm. wm o: uw>ou "m:m 6>> uooo_m: woo~ m__EV.:< a >w=>> :;o_. woo~\w_\w q _
kumn_ _ §Naw:< ¢.`EEQ _
. mo~.dm\owmm§c w\mov`
33 F~ ¢mmm~;
.oz wea>£ _ om~>>_ §§B_._z mmp
mcc~.t< _\B\\§ :B`¢\ 63va
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uw._o~m_mwz B>ou .m:m .o>> .ooo mm moo~ m:o~:< a >w__>> c;o_. woo~\w ~\w s §§ §§ EE\ 25 msqu
cogsa ~`:dm `E::§.`w§n E;EG:NG»
`>.O AEm\E w:o:.&:tmm
mmwm _N o~ Fo-
_oz wgo>E oNo> EE. 52
w:o_~=.._w m 52 wim& umcm w\m v.:om §§Eom §§
m
B§w_ § §,> a ~> §mm> w B>o ooo.¢m _8_.¢< £=om »_BEEoE a >v_;> c;o_, 383 in mom=m>§o §§ =._`m=:=.§
mumn_ cdc hew EEQE m:mv.:\w
v E:odoxod ~:wcqm\m :BE< _
53 F~ o§m¢o
.oz mo_o>c~ m::c@._ w:~._n_ _ mmp
_
guam E_E_._ $coo_._ corwu=n:.“_ §_ ou_o>:_ 9 om¢E_ =ozato»oa oan_
§§§ _ 1 1 _ 4 4 \ §_s< _ _

§Exm - >o_m>> .> cou=__z

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§ 3 mm §§

 

 

 

 

 

  

 

 

 

~ F\m F\~o n§>b_oom-o §§ §§ o\@ w:ow
uo-_.En:w Em_z .xwon§.$~ ..ow:wz ._o:wn_w>> _:o>mz >n ~:wE:o.__>:m d >o__>> :co_. nOON\m _.\ _. ~ owEom sm§@
:ozmu=aa< a v_oon.m .m:m .<Z .a v\F .000 Ov _u§mn_ §Em:m:~“\o ,So dm>.`wu
_EE Ssmc »B iw.: `m.:w<
mev FN mm~NoF
.oz vu.o>£ u:z:m._ »Etu_ m3
_.
~ F\m F\~o no>>b_oom-w §§ w\m »com
u§:En:w §§ sz .a.§> ._vw:wx ._..~§BW>> .:o>m~_ 3 EQE:S_>E_ a >w_;> cco_. woo~\m C. :. om=_\om §m£.m ¥§§ .
cocmu=aa< w v_ooa-m .m:m .<z .a ¢\~ .000 0¢ gsa 25ch U§EEE d:m`\so`
cm:EE mEt:u \w>.i mEmo.mw. _
pmm:~ -m 50
.oz mu_a>c_ m:_~cm._ w:Eu_ _ vi
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~ F\m F\~o noz<v_oom-o ucc §§ w\m w:om
v§§En:w §§ .V__oon§.§ .ww=o¢ ._Q§B.o>> _:o>§ 3 ~:QE:S_>=N_ a >w=>> E_o_. woo~\m §§ SQ~BQ §BQW _®"§
S.§__&< § V_oo...m .m=m .<z .n_ vi .ooo 3 333 §§ :&e=.§ v§§`
cwdEE mc.§:w dea wEmmmw
mev F~ -m 50
.oz mgo>£ mcrch w:m:_ map
u_:o.:uw_o §§ E_._Q §w>>\v_oon »:om qmm§u
Eo>> w:-=oz -m §§ §§ :_ms_ "Ou §_waw>> a w\~ _>mo_o_ao._u_s_ a >o__>> :co_. woo~\n~\m §m u.aE< §vao=o&
v_oon-m 65 §§ § vi nooo.oo Fv . §mo §§ mmcmwmw_.w<&wu>w%@
swan F~ momm § _
.oz mu._o>_: _a: \cm__< m:oo ~m:
wl
B,BQ>> w .az~=w 3 wwz A_>>>V 23
w m . h _ _ . 00 N ~\m
n§§ _ wm v_ooa-m .m=u .u>> .a N\~ .ooo ovv >=aEmoww _~u_w`€n_ a >o__>> cco_, w ~\u m s£§m 9§23 WM~MMU
ou o._u:_ m:.N=m:w_.> v y 0 mc§wdcmm moved »B as 305
gen § m ~Nmop
.oz wu_o>c_ cot___u ._._mo _ EF
con §m$m_ B_E_._§S_.__ §_ EEE__ 8_2,=__ a_&._E__ S_\»%SB~ &¢E__

=n_€m_ - >m_m>> .> c§=_s_

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3 3 § ommn_

 

 

 

 

 

 

 

 

 

 

nw>>\v_oom-w ncm o\w wcow m,`wv:od:`
_ _ _ …`wm\sm\:w _w-w\~m agqu _:w..`
um._$w.mw~_ §§ c_._wm._ b.w>> .H.§wz ._B_B_.¢.>> .cw>m~_ 3 ~ccho.__>cm z >o_.>> crow woo~\m § : 58 §.EQ@§ w 2 gust
6 v_eo_u.m . cm .<Z . v\ _. .OOO O.v uwumn_ Q»cmn._m\mn m:QEmooQQ.f~
m&ocmvw \AE@@
mev F~ ¢m 53
.oz wu_o>E Emucw>mm uw._“_ ct
nw>>\v_oom-w can §3~ simmons
uw._Bw_mv¢ c_mz v_oo€xB "wm:w~_ .B_Bm>> w\w mcom _.a.esw`:w §ng cwaqu .§..`
. .o _m _ d ._ . _ .5>-_ 3 EQE=S_>§ a >w__>> 52 335 § : 58 §§98 N 2 335
.w v_o n-m . cm .<Z . v\ _. .OOO O.v ugmn ~.a=mo.§mo w:QEonQQf»
vw`ocmmw ¥E@@
me!? 355
.oz mu.o>E Emucw>~m uw._“_ map
~ fm F\ho nw>>\§_oom-w ucc w\m mcom
nw$_En:m §S» ENE 503 _.wm:w~_ Mo§mno>> _ woo~\m F \F _. _ _
. . . _ _ co m > > :QQEQ m` who 33
coc~u__an< a v_oon-m .mcm .<z .a wl .ooo ov > z n »ccho.__>:m z w__>> cco_. umwme usf EEBEQ`\F...§ musme
m§t wmo.`..` §§ uc.Gwm
53 § 522
.oz B.o>E mcach ch“_ mmp
m F\m F\ho nw>>\v_oom-w uaw §S~ w\w wcom
uwb_.En:w c.~_z s_oon§~$ "ww:w~_ I§BQ>> . moo~\m ~ \F F ` _
_ _ _ . _ > > com..t m` who am
cotmu=aa< .w V_oon.m_ .mcm .<Z .a v\ F .ooo ov cw>mz n ucoEco._.>cm a w__>> cco_. uBmD d:.i dwESQEQ"E.§ W§.&mm
§¢.t wmo.`..` wm§ wc.`umm
53 5 522
.oz ou,o>£ mcach mc~._“_ map
~ ~\m F\No nwz<v_oom.w uaw o\w mcom
uw§En:w §S~ Em_>_ EQ>> Uv,:wz U§Bw>> , hoo~\m:: `
_ _ _ . . w m > > oonm GEQ
coa~u=aa< .w V_oon-m .mcm .<z .a v\ F .ooo cv c > z n ~coEco.__>cm .w w=>> cco_. uBmo w>Eo.:wE “B ..So vm\:m….“
_.EE Ss§m go `s..»_> \m.:m<
mev § mm-oF
.oz w£o>E mcach wcm.£ mop
§§ B_E: 855 §§ EEE_ § 9 325 §§ &s=_
§§£_ 1 _ _ 4 4 :§<_ _

E_em_ - >Q_m>> .> SE__>_

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910 mm wmmn_

 

 

 

 

 

 

 

 

 

Q\N
moo~ _
co._$m_mwz >_:_. 333 co_~mu=n:a um>oo …mcm >>n_:coo cmo_. >m o._o£ mcom wooN\o F\v
€>> d N: ,Emo> N .o>o ooo_m: mem mmw._ ccwaw .__Es~: w >w=>> crow §
. m..wEEo._“_ wc__:~n_ v£mn_ \_§§l §§ _~:_Wm S§m
~wmm~ QES.< wm ml :mmm.
mv~m FN m F Foom
.oz mu~o>£ Son._mm nom w mt
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moo~ >ms_ o\\. _com._o~wn_
. _ _ mcom dSEo>~\s
ue$m_m$_ .…w§_=oc§i§ .;>8 53 .`_w=m utu 3 EEQ¢.> z §§ §§ moo~\@ <v §E§= §§2 §§ §
.U>> .a m\_. .Emw> N `_0>0 OOO w_. 6 mcm~cof m.`_wEEo._m . UBND UE.ES when kemava mtno>~
`m§mamv m::d.§ m:m~w:`.<
N¢~m _.N 5 Fo¢m zou~mmm
oz §O>E §§ z ,_:=~Eoz §> _ ¢E
w\m
moo~ Sz .
o w m_mw wm m =o_ mg nn uo>ou o wm Q§u_z ___.m 3 mw_.v_oo¢ wcom
n b 3 4 x _. vi .~ ._.M.S> »Q>V._, mm .§ §.B=S 05 z ~3§._8 :Q_;> §§ moo~\@<¢ §§ §§`S §§
.u>> . m\ F . N ooo m: cmE._m m.._oEEo._H_ gunn `N`m`w` W>Wov:w> `MwMMoM
.:.._ ` t §§ d m
Fv~m F~ mm¢~t
.oz uu_o>c~ m_._._m:~§h_ E_._. md
mo\ fm B~u coc~u=a:a umcco_~u .~ucw_~o _~co_~oEo._~_ wcom
w w mo .
c h § z BEoEou _NEB:_ wmcm i>> …oom.~ :Nc._w§._c mLQEEo._H_ w >w=>> cco_. moo~\w iv §mm=\\_~ dimme
_uBNn_ nom imm `m:o.am>` mm \meG
§§ §§ s 505 %.§.,.:
o¢~m 5 3 39
.oz mu,o>:~ cot=o two mt
N fm 250 vo§§m _
. w\~ mcom §mtm:< imm \m:o,am>`
uo§Ea:m m.#_mt _u_cow~ow_w oz Lo>ou v_w~m _mo_.EE:Q ._o,_ m_,_m.:w:< z >w=>> czo_. moo~\o F\v m:EmEm§z daiqu
coc~u=aa< .mcw .v>> .23> N B>o ooo m~ uo~mn_ ?=2§9@ §QE§§
moo\mm:@` >~.EQ EEmmm
mm~m a d §§ _
.oz oumo>c~ mcbch mcm._n_ w ~:
adam B_E_._ 853 §§ EEE_ 83>=_ n_ &¢E_ _ §%88 amos
§§_§_ _ _\ _ _ _ \ §.S<H _

§_§m - >w_m>> .> 5_§_>_

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3 3 wm §§

 

 

 

 

 

 

 

 

 

 

 

§§ m ._£ mEmc …woo~. wl mcom
B§m_m§ §E»>ozm§~.n =om§__§_a §_,8 .E_>£ 53 3 >S 3 z §§ §§ woo~\m~h =§s%§\_ .E&§Q.§z
V_Q~m . 5 .§> h ~> .ooo @~ >S v_:~$ w_BEE¢: name 355 § §§ §§§
§ &o\sodd`.§ d:w B.E`m~` §<
§§ - 932
.oz wu_o>E w_tmr-_.~_ EF of
_
N F\m F\\.o
v_oon-w 95 §§ c_.~_z »ou _ wcam
=MWH_=HM v_§.m_ 55 §.> a § 58_02 § __»55 3 nga q §§ §§ woo~\w\m EE§& §§ §.= §§
.~ ._ < um~mn_ m cm:o.=t mc.§m>. ?G.`E`w
mims Ew_t:mnt kong :Nt.ua.`m
Nmmm § w Fw~h F
.oz BB>E m_tm:-r_ E_\_. mt
N F\m ~\wo
V_oon-m cna §B Ews_ woo wcom
B:E am _ * _ _ . . _ >
=w_ U_ wa .v_oB-m 95 .E> h ¢> .So 09 QB __QS_G a 855 a B_.>> §2. woo~\w\m §§
.u __ < UBNO _`.GQ `o~m>..`muc: G£moc:.a
wlo.`&d: :.EQ`QQ mmocm`tom
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.oz mu~o>c~ c._v_u_z a__h_ _ mt
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B>ou V_umm n cm _comc$m.:ro wc~:m 3 mcom
m _
355 oz 6>> d md YS> ~ B>o ooo.m~ ~3>> =ScQE< 05 ¥o a >w=>> c;o_. woo~\w 56 §§ twa
913 _mco.»mz m.BEEoE 383 `m=o:mz BQE< wEE§§
`mm 3 d:m FE< Emm."mQ
¥~m § 332 _
.oz mu_o>c_ m_tmr~:h_ E:. _ vt
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woo~ . > w\~ d :~F~ .._`
nEBm_mwz >_E. §§ co=~u=n:a cw>ou 55 ;o._cou c~o_. n Sos_ mcom moo~\m ~\¢
_n>> d ~\ ~ §~§ ~ b>o So_ , 3m .$v._ 253 ..=~§: a §§ Eo_. ` `
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Case 3

 

 

 

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Case 3

 

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EXH|B|T 2

 

Case 3:12-cv- 4601-E|\/|C Document 1 Filed 09/04/1 1

 

Confidential and for settlement
purposes on|y~

This informat|on may only be shared with
your counsel on a need to know basis

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BRowN onsAmc cHEMIsTRv(a) 30,000 1 s 203
cuTNELL PHYszcs(s) 50,000 1 s 160
GRostNoaNuTRlTaoN (1) 40,000 18 s 1,215
HALquY PHvslcs(s) 100,000 2 s 334
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HE\N cHEM\sTRY (11) 65,000 10 $ 310
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HuFFMAN PsvcHoLoGY(s) 25,000 2 s 540
HuFFMAN PsvcHoLon(7) 40,000 3 s 203
RuFFMAN psYcHoLon(s) 75,000 3 s 203
KARP cELL(4) 40,000 30 s 1,769
KARP cELL(s) 40,000 16 s 1,311
KowALsKrPsvcHoLoGY(4) 20,000 1 s 162
MALoNEcHEM¢sTRv(s) 20,000 1 s 135
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FRATTESSENTML aiocHEM»sTRv (1) 30,000 13 s 1,847
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soLoMoNsoRGANlc(w) 40,000 2 $ 273
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80,279
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89.823
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28,127
62,804
59,609
364,943
353,794
51,533
53,511
53,912
20,502
89,338
57,708
315,277

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First Print

Run Textbooks

12,722

7,912.
10,080

7,170
14, 896

5,832
44, 450

9,805
261 116
19,2 76

9,874
10,296
15,319
20,024
33,872
29,715
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26,867
19,440

9,900

9,776
13,818
57,481
66,091
16,340
14,674
19,988

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7,036
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Textbook

Sa|es Units
58,651
38,689
43,601
25,640
81,458
48,323

162,679
24,613
577,152
294,803
65,756
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31,838
60,465
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69,997
35,393
277,328

